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 1 BENJAMIN B. WAGNER
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 2 LEE S. BICKLEY
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 4 Telephone: (916) 554-2727

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 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                      EASTERN DISTRICT OF CALIFORNIA
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11 UNITED STATES OF AMERICA,                             CASE NO. 2:11-CR-00427 LKK

12                    Plaintiff,                         STIPULATION AND
                                                         PROTECTIVE ORDER RE:
13          v.                                           DISSEMINATION OF DISCOVERY
                                                         DOCUMENTS CONTAINING
14 VALERI MYSIN aka VAL MYSIN, et al.,                   PERSONAL IDENTIFYING
                                                         INFORMATION
15                    Defendants,

16

17        IT IS HEREBY STIPULATED AND AGREED among the parties that the documents

18 provided as discovery in this case to defense counsel are subject to a Protective Order.

19 Defendants are charged with engaging in a mortgage fraud scheme.

20        The parties agree that discovery in this case contains “Protected Information,” which is

21 defined here as including victim, co-defendant and witness social security numbers, driver’s

22 license numbers, bank account numbers, dates of birth, addresses, telephone numbers, email

23 addresses, financial records, tax records, and immigration records. The Protective Order signed

24 in this case extends to all documents provided, including those concerning conduct not directly

25 charged in the Indictment.

26        By signing this Stipulation, defense counsel agrees that the Protected Information is being

27 entrusted to counsel only for the purposes of representing his/her respective defendant in this

28 criminal case and for no other purpose. Further, defense counsel agrees not to share any

29     Stipulation and Proposed Protective Order     1
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 1 documents that contain Protected Information with anyone other than his/her designated defense

 2 investigators, experts, and support staff. Defense counsel will have a duty to inform their

 3 defense investigators, experts, and support staff of this Order and provide them with a copy of it.

 4 Defense counsel may permit the defendants to review the Protected Information and be aware of

 5 its contents, but defendants shall not be given control of the Protected Information or be provided

 6 any copies of the Protected Information which has not been redacted of the Protected

 7 Information. Any person receiving Protected Information or a copy of the Protected Information

 8 from counsel for the defendants shall be bound by the same obligations as counsel and further

 9 may not give the Protected Information to anyone (except that the protected documents shall be

10 returned to counsel).

11        All counsel agree to store Protected Information in a secure place and to use care to ensure

12 that information is not disclosed to third parties in violation of this agreement. At the conclusion

13 of the case, all defense counsel agree to destroy all copies of Protected Information or to return

14 the Protected Information to the United States and certify that this has been accomplished.

15        Notwithstanding the foregoing, counsel, staff and/or the investigator for the defendant may

16 make copies of the Protected Information for trial preparation and presentation. Any copies

17 must, however, remain in the possession of counsel, investigator, staff, expert or the Court.

18        Nothing in this Stipulation and Protective Order prevents a defense counsel or his/her

19 respective defendant from maintaining unredacted copies of records concerning that respective

20 defendant’s own Protected Information.

21        In the event that the defendant substitutes counsel, undersigned defense counsel agrees to

22 withhold these documents from new counsel unless and until substituted counsel agrees also to

23 be bound by this order.

24   DATE: March 12, 2014                                 BENJAMIN B. WAGNER
                                                          United States Attorney
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26                                                  By:    /s/ Lee S. Bickley
                                                          LEE S. BICKLEY
27                                                        Assistant U.S. Attorney

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 1   DATE: March 12, 2014                            /s/ John R. Duree, Jr.
                                                    JOHN R. DUREE, JR.
 2                                                  Attorney for Defendant Valeri Mysin

 3

 4   DATE: March 12, 2014                           /s/ Matthew M. Scoble
                                                    MATTHEW M. SCOBLE
 5                                                  Attorney for Defendant Angela Shavlovsky

 6

 7   DATE: March 12, 2014                           /s/ Dina L. Santos
                                                    DINA L. SANTOS
 8                                                  Attorney for Defendant Michael Kennedy

 9

10   DATE: March 12, 2014                            /s/ Joseph J. Wiseman
                                                    JOSEPH J. WISEMAN
11                                                  Attorney for Defendant Alexander Kokhanets

12

13   DATE: March 12, 2014                            /s/Julia Mary Young
                                                    JULIA MARY YOUNG
14                                                  Attorney for Defendant Boris Murzak

15

16   DATE: March 12, 2014                            /s/Julia Mary Young
                                                    JULIA MARY YOUNG
17                                                  Attorney for Defendant Zinaida Murzak

18
     DATE: March 12, 2014                            /s/John Paul Balazs
19                                                  JOHN PAUL BALAZS
                                                    Attorney for Defendant Vitaliy Tuzman
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21         IT IS SO ORDERED:

22   Dated: March 12, 2014

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     Valeri.mysin.0427.stipo.proto
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29      Stipulation and Proposed Protective Order        3
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